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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


 E.R., BY AND THROUGH HER                                        CIVIL ACTION
 MOTHER, B.R.
                                                                 NO. 20-3112
 VERSUS
                                                                 SECTION M (1)
 CABRINI HIGH SCHOOL, INC.


                                            ORDER

       Considering plaintiff’s motion to file under seal a petition seeking authorization for B.R.

to settle claims on behalf of her minor daughter, E.R. (R. Doc. 12), and the Court specifically

finding that the interests in favor of nondisclosure outweigh the public’s right of access to this

motion that contains the terms of a confidential settlement agreement,

       IT IS ORDERED that the motion to file under seal is GRANTED.

       New Orleans, Louisiana, this 26th day of March, 2021.




                                                    ________________________________
                                                    BARRY W. ASHE
                                                    UNITED STATES DISTRICT JUDGE
